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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

KATHERINE SWEENEY,                                §
                                                  §                Case No. 25-00392
                   Plaintiff,                     §
                                                  §
v.                                                §
                                                  §
ASSOCIATION OF INDEPENDENT                        §
MORTGAGE EXPERTS,                                 §
                                                  §
                 Defendant.                       §
                                                  §

                            DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Defendant, NATIONAL ASSOCIATION OF INDEPENDENT MORTGAGE EXPERTS

(“Defendant” or “AIME”), hereby files this Notice of Removal of Cause No. 048-362397-25, filed

in the 48th District Court in and for Tarrant County, Texas to the United States District Court for

the Northern District of Texas, Fort Worth Division, as provided by Title 28 U.S. Code, Chapter

89 and states:

        1.       Plaintiff Katherine Sweeney (“Plaintiff” or “Sweeney”) commenced the above-

entitled action in the 48th District Court of Tarrant County, State of Texas (the “State Court”) and

the action is now pending in that Court. Attached hereto are the following:

                 a. Civil Cover Sheet

                 b. Supplement Cover Sheet

                 c. Index of documents filed in state court;

                 d. Copy of state court docket;

                 e. Plaintiff’s Original Petition;




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                f. Citation

                g. Service Request Form;

                h. Affidavit of Service;

                i. Duplicate copy of Affidavit of Service; and

                j. Certificate of Interested Parties

          2.    AIME is the Defendant in the above-entitled action. AIME is a Michigan non-

profit corporation with its principal place of business in Michigan. According to Plaintiff’s

Petition, Plaintiff is a resident of Texas.

          3.    According to the Petition, Plaintiff seeks monetary relief of over $250,000.00.

          4.    A copy of Plaintiff’s Citation and Original Petition were delivered to the Texas

Secretary of State on March 11, 2025. Defendant does not concede that such delivery to the Texas

Secretary of State constituted proper service of process upon Defendant, and Defendant reserves

the right to contest the validity of such service.

          5.    The United States District Court for the Northern District of Texas, Fort Worth

Division, has jurisdiction by reason of the diversity of citizenship of the parties.

          6.    No change of citizenship of parties has occurred since the commencement of the

action.

          7.    Defendant will give written notice of the filing of this notice as required by 28

U.S.C. § 1446(d).

          8.    A copy of this notice will be filed with the clerk of the 48th District Court, Tarrant

County, Texas, as required by 28 U.S.C. § 1446(d).




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       WHEREFORE, DEFENDANT NATIONAL ASSOCIATION OF INDEPENDENT

MORTGAGE EXPERTS requests that this action proceed in this Court as an action properly

removed to it.

Dated: April 10, 2025              Respectfully submitted,


                                           SUSSMAN & MOORE, L.L.P.
                                           2911 Turtle Creek Blvd., Ste. 1100
                                           Dallas, Texas 75219
                                           Telephone: (214) 378-8270
                                           Facsimile: (214) 378-8290
                                           wmoore@csmlaw.net

                                   By:     /s/ Weldon L. Moore, III
                                           Weldon L. Moore, III
                                           Texas Bar No. 14380500
                                           ATTORNEY FOR ASSOCIATION OF INDEPENDENT
                                           MORTGAGE EXPERTS

                               CERTIFICATE OF SERVICE

      I, Weldon L. Moore, III, do hereby certify that a copy of the foregoing Notice was served
on counsel for Plaintiff, William Cook and M. Jason Ankele, wcook@sullivancook.com and
jankele@sullivancook.com via email this 10th day of April, 2025.


                                                  /s/ Weldon L. Moore, III
                                                  Weldon L. Moore, III




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